             Case 2:13-cr-00006-MCE Document 166 Filed 06/24/14 Page 1 of 4


 1 BENJAMIN B. WAGNER
   United States Attorney
 2 JARED C. DOLAN
   Assistant United States Attorney
 3 501 I Street, Suite 10-100
   Sacramento, CA 95814
 4 Telephone: (916) 554-2700
   Facsimile: (916) 554-2900
 5
 6 Attorneys for Plaintiff
   United States of America
 7
 8
                               IN THE UNITED STATES DISTRICT COURT
 9
                                  EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                         CASE NO. 2:13-CR-0006 MCE
12                              Plaintiff,             STIPULATION REGARDING EXCLUDABLE
                                                       TIME PERIODS UNDER SPEEDY TRIAL ACT;
13                        v.                           ORDER
14   AVTAR BAINS, BALKAR SINGH,                        DATE: June 20, 2014
     HARVINDER KAUR, SUKHWINDER                        TIME: 9:00 a.m.
15   KAUR,                                             COURT: Hon. Morrison C. England, Jr.
16                              Defendants.
17
18                                             STIPULATION

19         1.     By previous order, this matter was set for status on June 20, 2014.

20         2.     By this stipulation, defendants now move to continue the status conference until July 31,

21 2014, and to exclude time between June 20, 2014, and July 31, 2014, under Local Code T4.
22         3.     The parties agree and stipulate, and request that the Court find the following:

23                a)      The government has represented that the discovery associated with this case

24         includes investigative reports and related documents from three multiple investigative agencies

25         as well as both bank records and evidence recovered during the execution of multiple search

26         warrants. All of this discovery has been either produced directly to counsel or made available

27         for inspection and copying.

28                b)      Counsel for defendants desire additional time to inspect the evidence, conduct

                                                       1
              Case 2:13-cr-00006-MCE Document 166 Filed 06/24/14 Page 2 of 4


 1          investigation, and discuss potential resolution with their clients and the government. This

 2          includes a discussion of the effect of a plea to various charges on the defendant’s immigration

 3          status.

 4                    c)     Counsel for defendants believe that failure to grant the above-requested

 5          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 6          into account the exercise of due diligence.

 7                    d)     The government does not object to the continuance.

 8                    e)     Based on the above-stated findings, the ends of justice served by continuing the

 9          case as requested outweigh the interest of the public and the defendant in a trial within the

10          original date prescribed by the Speedy Trial Act.

11                    f)     For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

12          et seq., within which trial must commence, the time period of June 20, 2014 to July 31, 2014,

13          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

14          because it results from a continuance granted by the Court at defendants’ request on the basis of

15          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

16          of the public and the defendant in a speedy trial.

17          4.        Nothing in this stipulation and order shall preclude a finding that other provisions of the

18 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial
19 must commence.

20          IT IS SO STIPULATED.

21
     Dated: June 17, 2014                                       BENJAMIN B. WAGNER
22                                                              United States Attorney
23
                                                                /s/ JARED C. DOLAN
24                                                              JARED C. DOLAN
                                                                Assistant United States Attorney
25
26
27
28

                                                            2
             Case 2:13-cr-00006-MCE Document 166 Filed 06/24/14 Page 3 of 4

     Dated: June 17, 2014                         /s/ DAVID FISCHER
 1                                                DAVID FISCHER
                                                  Counsel for Defendant
 2
                                                  AVTAR BAINS
 3
 4
     Dated: June 17, 2014                         /s/ DWIGHT SAMUEL
 5                                                DWIGHT SAMUEL
                                                  Counsel for Defendant
 6                                                BALKAR SINGH
 7
 8 Dated: June 17, 2014                           /s/ MICHAEL BIGELOW
                                                  MICHAEL BIGELOW
 9                                                Counsel for Defendant
                                                  HARVINDER KAUR
10
11 Dated: June 17, 2014                           /s/ STANLEY KUBOCHI
                                                  STANLEY KUBOCHI
12
                                                  Counsel for Defendant
13                                                SUKHWINDER KAUR

14
15
16
17
18
19

20
21
22
23
24
25
26
27
28

                                              3
             Case 2:13-cr-00006-MCE Document 166 Filed 06/24/14 Page 4 of 4


 1                                                   ORDER

 2          Based on the stipulation of the parties and good cause appearing, the Court hereby finds that the

 3 failure to grant a continuance in this case would deny defense counsel reasonable time necessary for
 4 effective preparation, taking into account the exercise of due diligence. The Court specifically finds that
 5 the ends of justice served by the granting of such continuance outweigh the interests of the public and
 6 the defendant in a speedy trial. Based on these findings and pursuant to the stipulation of the parties, the
 7 Court hereby adopts the stipulation of the parties in its entirety as its order. Time is excluded from
 8 computation of time within which the trial of this matter must be commenced beginning from the date
 9 of this stipulation through and including July 31, 2014, pursuant to 18 U.S.C. § 3161(h)(7)(A) and
10 (B)(iv) [reasonable time for defense counsel to prepare] and (Local Code T4). A new status conference
11 date is hereby set for July 31, 2014, at 9:00 a.m. in Courtroom 7.
12          IT IS SO ORDERED.

13 Dated: June 20, 2014
14
15
16
17
18
19

20
21
22
23
24
25
26
27
28

                                                         4
